               Case 19-36181              Doc          Filed 06/22/20           Entered 06/22/20 14:09:10                  Desc Main
                                                           Document             Page 1 of 3
Fill in this information to identify the case:

Debtor 1                   Richard A Kozarits
Debtor 2                   Kimberly Kozarits
(Spouse, if filing)

United States Bankruptcy Court for the: Northern District of Illinois
                                                               (State)

Case number                19-36181




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges
                                                                                                                                            12/16
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in
the debtor’s principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the
bankruptcy filing that you assert are recoverable against the debtor or against the debtor’s principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


Name of creditor:           MTGLQ Investors, LP        d                                  Court claim no. (if known):        6-1    d

Last 4 digits of any number you use to          1265
identify the debtor’s account:

Does this notice supplement a prior notice of postpetition fees,
expenses, and charges?
    No
    Yes Date of the last notice:


 Part 1:        Itemize Postpetition Fees, Expenses, and Charges

Itemize the fees, expenses, and charges incurred on the debtor's mortgage account after the petition was filed. Do not include any
escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved
an amount, indicate that approval in parentheses after the date the amount was incurred.
        Description                                                      Dates incurred                                      Amount
 1.     Late charges                                                                                                     (1) $
 2.     Non-sufficient funds (NSF) fees                                                                                  (2) $
 3.     Attorney fees                                                                                                    (3) $
 4.     Filing fees and court costs                                                                                      (4) $
 5.     Bankruptcy/Proof of claim fees                                   03/04/2020 $650.00 POC 410;                     (5) $     900.00
                                                                         03/04/2020 $250.00 POC 410A
 6.     Appraisal/Broker’s price opinion fees                                                                            (6) $
 7.     Property inspection fees                                                                                         (7) $
 8.     Tax advances (non-escrow)                                                                                        (8) $

 9.     Insurance advances (non-escrow)                                                                                  (9) $
10.     Property preservation expenses. Specify:                                                                        (10) $
11.     Other. Specify: Plan Review                                      02/21/2020                                     (11) $     300.00
12.     Other. Specify: Objection                                        02/28/2020                                     (12) $     500.00
13.     Other. Specify:                                                                                                 (13) $
14.     Other. Specify:                                                                                                 (14) $


The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                             Notice of Postpetition Mortgage Fees, Expenses, and Charges                                  page 1
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Debtor 1          Richard A Kozarits                                            Case number (if known)              19-36181
                  First Name       Middle Name        Last Name




Part 2:     Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and sate your address and telephone number.
Check the appropriate box.
   I am the creditor.
   I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
information, and reasonable belief.


              X       /s/Nisha B. Parikh                                         Date       06/22/2020
                      Signature


Print:                Nisha B. Parikh                                             Title     Attorney for Creditor


Company:              Diaz Anselmo Lindberg LLC


Address:              1771 W. Diehl Rd., Suite 120
                      Number         Street
                      Naperville              IL              60563
                      City                    State          Zip Code

Contact phone         (630) 453-6960                                    Email     ILbankruptcy@dallegal.com




Official Form 410S2                              Notice of Postpetition Mortgage Fees, Expenses, and Charges                                   page 2
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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF ILLINOIS
                                                 EASTERN DIVISION

IN RE:                                                CASE NO. 19-36181

Richard A Kozarits;                                   CHAPTER 13
Kimberly Kozarits;
                                                      JUDGE Deborah L. Thorne
Debtor(s).


                                               CERTIFICATE OF SERVICE

I hereby certify that on June 22, 2020, a true and correct copy of the foregoing “Notice of Postpetition Mortgage
Fees, Expenses, and Charges” was served:

Via the Court's ECF system on these entities and individuals who are listed on the Court's Electronic Mail Notice List:

         David H Cutler, Debtor's Counsel

         Marilyn O Marshall, Trustee

         Patrick S Layng, U.S. Trustee

And by regular US Mail, postage pre-paid on:

         Richard A Kozarits, 8S336 Vine Street, Burr Ridge, IL 60527

         Kimberly Kozarits, 8S336 Vine Street, Burr Ridge, IL 60527

                                                       /s/Victoria Shouse

                                                      Diaz Anselmo Lindberg LLC
                                                      1771 W. Diehl Rd., Ste. 120
                                                      Naperville, IL 60563-4947
                                                      630-453-6960 | 866-402-8661 | 630-428-4620 (fax)
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                                                      Firm File Number: B20020042
